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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

      Northern
 ____________________              Texas
                      District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                                        11
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Pogo Energy, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                               Plug Energy, LLC
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___
                                                             4   9 9 6        9
                                                  1 – ___ ___ ___ ___ ___ ___ ___   2 1
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                               5960 Berkshire Lane
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                               6th Floor                                                    PO Box 142646
                                                                                                           _______________________________________________
                                              ______________________________________________
                                                                                                           P.O. Box
                                              Dallas                           TX         75225             Irving                   TX           75014
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              Dallas
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.pogoenergy.com
                                              ____________________________________________________________________________________________________




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               Pogo Energy, LLC
Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          x None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2 ___
                                             ___ 2 ___
                                                    1 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          x Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor
                 Pogo Energy, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        x No
                                          
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases           x No
                                          
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?                          x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        x No
                                          
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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                   x

                   x



                                       x




                                       x
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Debtor         Pogo Energy, LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/Rachael L. Smiley
                                            _____________________________________________            Date        7/1/2021
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY


                                             Rachael L. Smiley
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Ferguson Braswell Fraser Kubasta PC
                                           _________________________________________________________________________________________________
                                           Firm name
                                           2500 Dallas Parkway, Suite 600
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Plano                                                           TX          75093
                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                           972-378-9111
                                           ____________________________________                             rsmiley@fbfk.law
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                           24066158
                                           ______________________________________________________
                                                                                                           TX
                                                                                                  ____________
                                           Bar number                                             State




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      Fill in this information to identify the case:

                   Pogo Energy, LLC
      Debtor name __________________________________________________________________

                                                Northern
      United States Bankruptcy Court for the: ______________________              Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     Luminant Energy
      6555 Sierra Drive                                                      QSE Services           Disputed       $27,323,155.24 unknown                unknown
      Irving, TX 75039

     Tridius Technologies LLC
2
     6101 Long Prairie Road,
     Suite 744-230                                                           Trade Debt                                                                  $44,133.91
     Flower Mound, TX 75028

3     Lamar Companies
                                                                             Trade Debt
      P.O. Box 96030                                                                                                                                     $18,539.30
      Baton Rouge, LA 70896

4
      Yum Yum Video SRL                                                       Trade Debt
                                                                                                                                                          $4,500.00
      Mendoza 2654
      Buenos Aires CP 1428

5
      EnergyCare, LLC                                                                                                                                    $10,181.25
      9701 International Ct N., Ste A
      St. Petersburg, FL 33716

6     Oakville Energy, LLC
                                                                                                                                                          $1,650.00
      1718 Elmen Street
      Houston, TX 77019

7     Znalytics
      4550 North Point Parkway,                                                                                                                          $15,476,64
                                                                               Trade Debt
      Suite 180
      Alpharetta, GA 30022

8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
